Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 1 of 6 Page ID #:1607




                           UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION

                                           Case No. 2:16-cv-08373-PA-KS
 GARY LUNSFORD,
                                           DECLARATION OF PETER
             Plaintiff,                    KOZELKA IN SUPPORT OF UNITED
                                           STATES’ OPPOSITION TO ENTRY OF
             v.
                                           THE PROPOSED CONSENT DECREE
  ARROWHEAD BRASS PLUMBING
  And ARROWHEAD BRASS &
  PLUMBING, LLC.                           The Honorable Percy Anderson
             Defendants.
Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 2 of 6 Page ID #:1608




  1   L Peter Koze]ka, declare as fo11ows:

  2      l. I am currently employed by the U.S. Enviromnental Protection Agency

  3   ("EPA.. ), Region IX, as an Environmental Scientist in the Clean Water Act

 4    ("CWA") National Pollutant Discharge Elimination System ("NPDES'') Permits

  5   Office, Water Division. I have been employed by EPA since 1997.

  6      2. I hold a Bachelor of Arts in biology from Beloit College, awarded in 1983,

  7   and a Doctorate of Philosophy in chemistry from the University of California,

  8   Santa Cruz, awarded in 1996, which focused on the fate and transport of heavy

  9   metals in estuarine waters.

 lO      3. In my cuITent position, I review and provide oversight of NPDES permits to

 LL   the State of California and its local Regional Water Boards. I also consult and

 12   provide technical assistance to State staff on various stormwater permits. I am

 13   familiar with California's General Permit for Stormwater Discharges
                                                                      .... Associated

 14   with Industrial Activities ("General Permit").

 15      4. In my previous position, at the EPA Monitoring and Assessment Office, I

 16   was responsible for reviewing submissions from the State of California to EPA

 17   Region IX relating to water quality standards under CWA Section 303(d), as well

 18   as drafting EPA decision documents relating to those submissions. I was also

 19

20
Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 3 of 6 Page ID #:1609




 l   involved in the review and approval/disar proval of total maximum daily load

2    ("TMDL'') documents that are submitted by the State to EPA Region IX.

 3      5. As part of my duties, both in the NPDES Office and the Monitoring and

4    Assessment Office, I have become familiar with the Los Angeles River watershed

 5   and its various pollutant sources and permitted facilities.

 6      6. The General Permit directs stormwater permittees to collect facility

 7   discharge samples during rain events. According to the General Permit fact sheet,

 8   permittees must collect four "'grab" samples per year. A grab sample is a single

 9   sample representing a short or instantaneous timespan, i.e., the amount of time

10   needed to fill the sample bottle. A grab sample is different from a composite

Il   sample, which is composed of several samples collected over a longer period     of
12   time and combined. A single aliquot is collected from this combined sample.

13      7. Using my best professional judgment, if a pennittee collects a grab sample,

14   the results are more appropriately compared to the acute I-hour benchmark or

15   water-quality standard.

16      8. If the permittee collects a composite sample over a 24- or 48-hour timespan,

17   then the results are most appropriately compared to the 4-day benchmark or water-

18   quality standard.

19

20
                                                2
Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 4 of 6 Page ID #:1610




  1      9. Based on preliminary research involving storm-drain maps and Google's

  2   map application, the Arrowhead facility is located in Alhambra, California, in the

  3   center of the Los Angeles area, and its stonnwater runoff will travel through storm

  4   drains before reaching the Los Angeles River. See Figure 1.

  5      10. According to storm-drain maps, the discharge point into the Los Angeles

  6   River is near the Highway 101/ Highway 10 overpass. (The Los Angeles River at

  7   the Highway l 0 1 overpass is approximately 21 miles upstream of the uppermost

  8   section of the Los Angeles River Estuary, where saltwater standards would apply.)

  9   The Los Angeles River is freshwater at this point and only freshwater water quality

 10   standards would apply. The Los Angeles River at the Highway LOI overpass is

 lI   approximately 21 miles upstream of the uppermost section of the Los Angeles

 12   River Estuary, where saltwater standards would apply. See Figure 2. Thus, the

 13   discharge point into the Los Angeles River is at a location that is definitively

 l4   freshwater.

 15   l declare under penalty of perjury that the foregoing is true and correct to the best

 16   of my knowledge.

 17   Executed this   'f/l!;:y
                             of, f I.A--<.., 2018, in   )tt.A'h,..c.,s,w   , California.
 18

 19

 20
                                                   3
Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 5 of 6 Page ID #:1611



                                                Figure 1




 Figure 1. A storm-drain map related to the Arrowhead Brass Plumbing facility in Alhambra, CA.
Case 2:16-cv-08373-PA-KS Document 57-2 Filed 06/18/18 Page 6 of 6 Page ID #:1612



                                                Figure 2




 Figure 2. Google Maps presenting the storm-drain discharge point into the Los Angeles River at 101/10
 Freeway to the upper reach of Los Angeles River at Willow Ave. According to Google Maps, the distance
 is 21 miles.
